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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,
                                                                                    MEMORANDUM & ORDER
                              v.
                                                                                   19-cr-188(KAM)
FRANK SEGUI,

                                                            Defendant.

---------------------------------X
MATSUMOTO, United States District Judge:

                              On April 23, 2019, a jury indicted Frank Segui (“Mr.

Segui”) for transmitting a threat to injure in violation of 18

U.S.C. § 875(c), based on an October 30, 2018 email Mr. Segui

sent to his former professor.                                            (ECF No. 13, Indictment

(“Ind.”).)                          Before the Court are the parties’ motions in limine.

(ECF No. 28, Government’s Motions in Limine (“Gov’t Br.”); ECF

No. 29, Defendant’s Motion in Limine (“Def. Br.”).)                                            For the

reasons set forth below, the Court grants in part and denies in

part the Government’s motions in limine.                                            The Court denies Mr.

Segui’s motion in limine in its entirety.

                                                                   Background1

                              Between the Fall of 2013 and the Summer of 2016, Mr.

Segui was a graduate student at a university located within the



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  The Court does not accept the facts in this section as true. They are
included here exclusively to facilitate its rulings on the motions in limine.
The Government must still establish their veracity at trial.



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Western District of Michigan.       (ECF No. 1, Complaint in Support

of Arrest Warrant (“Compl.”), ¶ 2.)        During this period, Mr.

Segui worked as a research assistant for a professor at the

university, John Doe.     (Id.)    Over time, Mr. Segui’s

relationship with John Doe soured.        (Id. ¶ 3.)    Mr. Segui

“became very angry with . . . John Doe and blamed John Doe for

his lack of success” at the university.         (Id.)

           In October 2015, Mr. Segui emailed John Doe, copying

others at the university, “listing his grievances with John Doe

and stating that John Doe had broken numerous promises to him.”

(Id.)   The university later informed Mr. Segui (at an

unspecified date) that he could receive a master’s degree but

“could no longer continue his other graduate studies at the

university.”    (Id. ¶ 4.)

           In June 2018, Mr. Segui returned from Michigan to

Brooklyn to live with his parents and resided with them until

February 2019.    (Id. ¶ 5.)    It was during this time that Mr.

Segui drafted and sent the October 30, 2018 email to John Doe,

again copying others at the university.         (Id. ¶ 6.)    Mr. Segui

concluded his email by issuing what the Government alleges was a

threat to injure John Doe:

     You need to understand someone [sic] though. You’re all
     monsters. You don’t deserve life. The world would be
     better without you. [John Doe] I’m so glad that son of
     yours is a mute deformed autistic little shit. That’s
     probably god’s way of putting you in place. [Redacted] and


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     the other fat one don’t pretend like you didn’t know. Your
     [sic] monsters just the same. What’s fucked up is I know
     you guys covered your tracks anything short of tying you
     down and cutting off your fingers there [sic] no way you
     will ever admit to any wrong doing. You’ll just claim I’m
     crazy and continue ruining my life till the day I die. I
     attached this to the original email I sent years ago.

(Id.)     The Chief of Police of the university was notified about

the foregoing email on the day it was sent.         (ECF No. 30,

Government’s Opposition to Defendant’s Motion to Suppress

(“Gov’t Opp. to Mot. to Suppress”), at 3.)         When John Doe later

spoke with law enforcement, he indicated that, “when he received

the [foregoing] email in 2018, he felt threatened and fearful

for his safety and the safety of his son, especially because

[Mr. Segui] specifically mentioned [John] Doe’s son in the

email.”    (Compl. ¶ 7.)   “Based on his interactions with [Mr.

Segui], John Doe felt that this was a credible threat.”            (Id.)

            Mr. Segui appears to have remained focused on John Doe

for some time after the October 30, 2018 email.          On November 2,

2018, Mr. Segui drafted “a list of grievances, which focused on

[John] Doe, in what appears to be a letter to a third party.”

(Gov’t Br. at 2.)    Between November 23, 2018 and February 21,

2019, Mr. Segui searched on Google for: (1) ways to travel to

the city in Michigan where John Doe lived; (2) contact and

academic scheduling information for John Doe; (3) the cost of a

knife and a switch blade; (4) articles about Rikers Island; (5)

how to make and buy different types of poisons; (6) whether it


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is possible to kill someone with a butter knife; (7) when it is

legal to kill a person and justifiable homicide; and (8)

articles about college students killing their professors.            (Id.

at 2-3.) On February 3, 2019, Mr. Segui “saved information about

[John] Doe, which he found on the Internet, such as [John] Doe’s

class schedule and contact information, to a Microsoft Word

document.”   (Id. at 3.)

           On February 22, 2019, Port Authority Police Officers

arrested Mr. Segui at the Port Authority Bus Terminal in

Manhattan for harassment and trespass.        (ECF No. 51, Memorandum

& Order, at 6.)    Mr. Segui was given Miranda warnings and agreed

to speak with law enforcement.       (Compl. ¶ 9.)     Mr. Segui stated

to police that he was planning to go to Michigan to kill his

former professor; had purchased an axe for that purpose on the

internet, which he had left at his parents’ apartment in

Brooklyn, New York; intended to purchase a new axe upon his

arrival in Michigan, which he would use to kill John Doe;

followed John Doe’s class schedule to know when to kill him; and

that his October 30, 2018 email was a “slight underhand threat.”

(Id. ¶¶ 9-10; Gov’t Br. at 3.)       Law enforcement traveled to Mr.

Segui’s parents’ apartment in Brooklyn and received consent to

search his former room and closet.        (Compl. ¶ 11.)     The search

revealed the axe purchased on the internet, its sheath, and the

packaging for the axe addressed to the defendant.          (Id.)


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           On February 23, 2019, the day after Mr. Segui’s arrest

at the Port Authority Bus Terminal, but before his release from

state custody, the Federal Bureau of Investigation (“FBI”)

“received notification that the Port Authority had arrested an

individual[, Mr. Segui,] who stated he was attempting to travel

to Michigan to kill his former professor[, John Doe].”           (Gov’t

Opp. to Mot. to Suppress at 3.)          The Port Authority informed the

FBI that Mr. Segui had sent an allegedly threatening email to

that professor on October 30, 2018.         (Id.)   Upon Mr. Segui’s

release from state custody that same day, Special Agent Kerry

Calnan (“Agent Calnan”) of the FBI arrested Mr. Segui.           (Compl.

¶ 12.)   “[Mr. Segui] did not agree to waive his Miranda rights

and speak to the FBI agents.”       (Gov’t Opp. to Mot. to Suppress

at 3.)

           On February 25, 2019, Agent Calnan swore out an arrest

complaint against Mr. Segui before Magistrate Judge Steven L.

Tiscione of the United States District Court for the Eastern

District of New York.     (See generally Compl.)       On March 12,

2019, Special Agent George Lane of the FBI submitted an

affidavit in support of an application for a search warrant for

Mr. Segui’s computer, and a search warrant was issued the same

day by Magistrate Judge Ramon E. Reyes.         (See generally ECF No.

30-1, Affidavit in Support of an Application Under Rule 41 for

Warrants to Search and Seize.)       A subsequent search of Mr.


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Segui’s computer revealed much of the evidence at issue in these

motions in limine.

           On April 23, 2019, a grand jury in the Eastern

District of New York indicted Mr. Segui for transmission of a

threat to injure in violation of 18 U.S.C. § 875(c).           (See

generally Ind.)    The indictment alleges that:

     On or about October 30, 2018, within the Eastern District
     of New York and elsewhere, the defendant FRANK SEGUI did
     knowingly and intentionally transmit in interstate commerce
     a communication containing a threat to injure the person of
     another, to wit: a communication threatening the life of,
     and threatening bodily injury to, John Doe, an individual
     whose identity is known to the Grand Jury.

(Id.)   Jury selection and trial on the indictment are scheduled

for December 9, 2019.     (ECF Docket Entry, Oct. 10, 2019.)

           Before the Court are the parties’ motions in limine.

The Government moves to (1) admit evidence of Mr. Segui’s

conduct prior and subsequent to the October 30, 2018 email and

(2) preclude Mr. Segui from making arguments regarding his

“nonexistent First Amendment right to email threatening

communications.”    (See generally Gov’t Br.)       Mr. Segui moves to

preclude his statement in his October 30, 2018 email regarding

John Doe’s son.    (See generally Def. Br.)       The Court will

address each motion in turn.

                           Standard of Review

           “A district court’s inherent authority to manage the

course of its trials encompasses the right to rule on motions in


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limine.”    Highland Capital Mgmt., LP. v. Schneider, 551 F. Supp.

2d 173, 176-77 (S.D.N.Y. 2008) (citing Luce v. United States,

469 U.S. 38, 41 n.4 (1984)).       Motions in limine “aid the trial

process by enabling the Court to rule in advance of trial on the

relevance of certain forecasted evidence.”         Palmieri v. Defaria,

88 F.3d 136, 141 (2d Cir. 1996) (internal quotation marks

omitted).    The trial court should only exclude evidence when it

is “clearly inadmissible on all potential grounds.”           United

States v. Paredes, 176 F. Supp. 2d 192, 193 (S.D.N.Y. 2001).

The trial court may reserve judgment until trial, so that the

motion is placed in the appropriate factual context, Nat’l.

Union Fire Ins. Co. v. L.E. Myers Co. Group, 937 F. Supp. 276,

287 (S.D.N.Y. 1996), and the ruling remains “subject to change

when the case unfolds, particularly if the actual testimony

differs from what was contained in the [movant’s] proffer,”

Luce, 469 U.S. at 41.

            The Federal Rules of Evidence provide the framework

for determining the admissibility of evidence.          “As a general

matter, all relevant evidence is admissible . . . unless

specifically excluded.”      United States v. Perez, 387 F.3d 201,

209 (2d Cir. 2004) (citing Fed. R. Evid. 402).          “To be relevant,

evidence need not be sufficient by itself to prove a fact in

issue, much less to prove it beyond a reasonable doubt.”            United

States v. Abu-Jihaad, 630 F.3d 102, 132 (2d Cir. 2010) (quoting


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Contemporary Mission, Inc. v. Famous Music Corp., 557 F.2d 918,

927 (2d Cir. 1977)).     “Rather, evidence is ‘relevant’ if it has

‘any tendency to make the existence of any fact that is of

consequence to the determination of the action more probable or

less probable than it would be without the evidence.’”           Id.

(quoting Fed. R. Evid. 401).       Even “[n]onconclusive evidence

should . . . be admitted if it makes a proposition more probable

than not.”   United States v. Schultz, 333 F.3d 393, 416 (2d Cir.

2003) (internal quotation marks omitted).

           Although evidence may be relevant, it may nonetheless

be excluded pursuant to Federal Rule of Evidence 403 (“Rule

403”) “if ‘its probative value is substantially outweighed by a

danger of . . . unfair prejudice.’”        United States v. Rivera,

No. 13-CR-149(KAM), 2015 WL 1875658, at *3 (E.D.N.Y. Apr. 22,

2015) (citing Fed. R. Evid. 403; United States v. Bourne, No.

08–CR–888(NGG), 2011 WL 4458846, at *12 (E.D.N.Y. Sept. 23,

2011) (“Evidence of uncharged acts may be admissible, subject to

limitations imposed by Rule[] 403 . . . .”)).          “The term ‘unfair

prejudice,’ as to a criminal defendant, speaks to the capacity

of some concededly relevant evidence to lure the factfinder into

declaring guilt on a ground different from proof specific to the

offense charged.”    Old Chief v. United States, 519 U.S. 172, 180

(1997).   The Court considers the evidence in the context of the

crime charged, excluding evidence “more inflammatory than the


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charged crime,” United States v. Livoti, 196 F.3d 322, 326 (2d

Cir. 1999); United States v. Pitre, 960 F.2d 1112, 1120 (2d Cir.

1992) (finding no unfair prejudice where “evidence of prior

narcotics transactions ‘did not involve conduct any more

sensational or disturbing than the crimes with which [the

appellants were] charged.’” (quoting United States v. Roldan–

Zapata, 916 F.2d 795, 804 (2d Cir. 1990))), or if “the chain of

inferences necessary to connect evidence with the ultimate fact

to be proved” is unduly long, see United States v. Lyles, 593

F.2d 182, 195–96 (2d Cir. 1979), cert. denied, 440 U.S. 972,

(1979).

                                Discussion

            The parties ask the Court to admit or preclude

evidence on the basis of its perceived relevance (or lack

thereof) to the elements of 18 U.S.C. § 875(c).          A brief review

of these elements will place the parties’ motions in the

appropriate context.

  I.     Elements of 18 U.S.C. § 875(c)

            Mr. Segui is charged with transmitting a threat to

injure in violation of 18 U.S.C. § 875(c), which provides:

        Whoever transmits in interstate or foreign commerce any
        communication containing any threat to . . . injure the
        person of another, shall be fined under this title or
        imprisoned not more than five years, or both.




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Id.   The United States Supreme Court has observed that “[t]his

statute requires that a communication be transmitted and that

the communication contain a threat,” but it “does not specify

that the defendant must have any mental state with respect to

these elements,” particularly with respect to “whether the

defendant must intend that his communication contain a threat.”

Elonis v. United States, 135 S. Ct. 2001, 2008 (2015).            This

omission led to inconsistency amongst the courts as to how to

determine whether a communication is a threat within the meaning

of the statute.

           The Supreme Court held in United States v. Elonis, 135

S. Ct. 2001, that it is no longer sufficient for the jury to

conclude that the communication was objectively threatening.

Rather, because a defendant must be “blameworthy in mind” to be

criminally liable, and because the crux of this offense is the

transmission of a threat (rather than an innocuous

communication), the Supreme Court held that the jury must also

consider whether the government has proven that a defendant has

the requisite mens rea with respect to sending the threat.               Id.

at 2012.   The Elonis Court did not specify the mens rea required

by the statute, United States v. Jordan, 639 F. App’x 768 (2d

Cir. 2016) (summary order), but it instructed that the

requirement of proving a defendant’s mens rea is met where “the

defendant transmits a communication for [1] the purpose of


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issuing a threat, or [2] with knowledge that the communication

will be viewed as a threat.”       Elonis, 135 S. Ct. at 2012; see

also United States v. Choudhry, 649 F. App’x 60, 62 (2d Cir.

2016).

           Until the Elonis decision, the Second Circuit employed

only an objective test in determining whether a threat had been

issued under § 875(c).      United States v. Francis, 164 F.3d 120,

123 (2d Cir. 1999); see also United States v. Sovie, 122 F.3d

122, 125 (2d Cir. 1997) (requiring that a communication be a

“true threat,” assessed under an objective test, to convict

under § 875(c)).     Prior to Elonis, the jury was required only to

determine “whether an ordinary, reasonable recipient who is

familiar with the context of the [communication] would interpret

it as a threat of injury.”       United States v. Turner, 720 F.3d

411, 420 (2d Cir. 2013 (citing United States v. Davila, 461 F.3d

298, 305 (2d Cir. 2006)); see also United States v. Kirsch, 903

F.3d 213, 233 n.21 (2d Cir. 2018), cert. denied, 139 S. Ct. 1272

(2019).   Thus, there was no need for the jury to consider

whether the defendant actually intended for the communication to

be perceived as threatening.       See Francis, 164 F.3d at 123

(noting that the Government only had to prove “that the

defendant intentionally transmitted a communication in

interstate commerce and that the circumstances were such that an




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ordinary, reasonable recipient familiar with the context of the

communication would interpret it as a true threat of injury.”).

           The Elonis decision clarified that there is both an

objective, see Francis, 164 F.3d at 123 (requiring that a

communication be perceived by a reasonable recipient as a “true

threat,” assessed under an objective test, to convict under §

875(c)), and subjective, see Elonis, 135 S. Ct. at 2012

(requiring that the defendant have the requisite mens rea,

assessed under a subjective test, to convict under § 875(c)),

component to the § 875(c) analysis.        See also, e.g., United

States v. White, 810 F.3d 212, 220–21 (4th Cir. 2016) (“[A]fter

Elonis, . . . a conviction pursuant to § 875(c) now entails

‘what the [statute requires] (a subjectively intended threat)

and [also] what constitutional avoidance principles demand (an

objectively real threat)’” (citing United States v. Jeffries,

692 F.3d 473, 485 (6th Cir. 2012) (Sutton, J., dubitante)));

United States v. Elonis, 841 F.3d 589, 596 (3d Cir. 2016)

(“Section 875(c) contains both a subjective and objective

component . . . .”).

           Thus, the Government must prove beyond a reasonable

doubt that: (1) “the defendant intentionally transmitted a

communication in interstate commerce,” Francis, 164 F.3d at 123,

(2) “the circumstances were such that an ordinary, reasonable

recipient familiar with the context of the communication would


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interpret it as a true threat of injury” (i.e., the objective

component), id., and (3) “the defendant transmit[ted] [the]

communication for the purpose of issuing a threat, or with

knowledge that the communication will be viewed as a threat”

(i.e., the subjective component), Elonis, 135 S. Ct at 2012.2

       II. The Government’s Motions in Limine

                              With the foregoing elements in mind, the Court turns

to the Government’s motions to (1) admit evidence of Mr. Segui’s

acts prior and subsequent to the October 30, 2018 email and (2)

preclude Mr. Segui from making arguments regarding his

“nonexistent” First Amendment right to email threatening

communications.

                      A.Motion to Admit Mr. Segui’s Prior and Subsequent Acts

                              The Government first asks the Court to admit: (1) Mr.

Segui’s communications to or about John Doe before Mr. Segui

sent the October 30, 2018 email, (2) Mr. Segui’s Google search


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  Courts in the Second Circuit have articulated the elements of § 875(c)
slightly differently, see, e.g., Francis, 164 F.3d at 123; United States v.
Veliz, No. 03-CR-1473(GEL), 2004 WL 964005, at *2 (S.D.N.Y. May 5, 2004);
United States v. Doe, 2008 WL 4694615, at *3 (S.D.N.Y. Oct. 21, 2008); United
States v. Choudhry, 941 F. Supp. 2d 347, 354 (E.D.N.Y. 2013), though none of
the differences appear to be substantive, with the exception of the addition
of the subjective intent requirement in post-Elonis decisions, see, e.g.,
Mundle, 2016 WL 1071035, at *2 (requiring that the government prove “that [1]
the Defendant threatened to ‘injure the person of another’; [2] such threat
was made in interstate commerce; and [3] the defendant transmitted the threat
“with knowledge that the communication [would] be viewed as a threat”). The
courts of appeals similarly employ distinct articulations, but only in form.
See, e.g., White, 810 F.3d at 220–21; United States v. Doggart, 906 F.3d 506,
510 (6th Cir. 2018); United States v. Khan, 937 F.3d 1042, 1051 (7th Cir.
2019); United States v. Stevens, 881 F.3d 1249, 1253 (10th Cir. 2018).



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history relating to John Doe and/or the threat, and (3)

statements stemming from, or evidence discovered by law

enforcement after, Mr. Segui’s February 22, 2019 arrest, when he

allegedly was en route to carry out the alleged threat.            (Gov’t

Br. at 4.)    Mr. Segui concedes the first category of documents,

pre-dating or near in time to his October 30, 2018 email, are

admissible.    (ECF No. 33, Defendant’s Opposition to Government’s

Motions in Limine (“Def. Opp.”), at 2 (“[T]he government

plausibly explains why Mr. Segui’s prior communications to [John

Doe] and draft communications near in time to the October 2018

Email would be relevant to proving the charged offense: Those

communications sent by Mr. Segui to [John Doe] demonstrate both

[the professor’s] concern upon reading the October 2018 Email

and the defendant’s mental state when sending the email.”

(internal quotation marks omitted)).          The Court agrees and

grants the Government’s motion in limine with respect to Mr.

Segui’s communications and draft communications to John Doe

prior or near in time to the October 30, 2018 email.

           Mr. Segui, however, objects to admitting his Google

search history and the events surrounding his arrest, which

occurred after October 30, 2018.          The Government argues that

this evidence constitutes direct evidence of Mr. Segui’s intent

to communicate a “true threat” and is “inextricably intertwined”

with the evidence of the charged offense or, alternatively, is


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admissible as “other acts” evidence under Federal Rule of

Evidence 404(b) (“Rule 404(b)”).          (Id. at 4-7.)    Mr. Segui

counters that the evidence is not relevant to any element of the

offense and, in any event, should be precluded under Rule 403 as

substantially more prejudicial than probative.            (Def. Opp. at 1-

4.)   The Court addresses these arguments below.

                1.Proper Framework for Admissibility

           The threshold question in addressing this motion in

limine is determining whether evidence of Mr. Segui’s subsequent

acts constitutes “direct” evidence of the crime charged or

“other acts” evidence subject to Rule 404(b).             See United States

v. Ivanova, 19 F. Supp. 3d 511, 514 (S.D.N.Y. 2014).            To some

extent, this inquiry “exalts form over substance.”             United

States v. Nektalov, 325 F. Supp. 2d 367, 372 (S.D.N.Y. 2004).

In either case, the Court must determine whether the evidence is

relevant and, if so, consider whether to exclude the evidence

because its probative value is substantially outweighed by a

danger of unfair prejudice.       Id. (citing United States v. Bowie,

232 F.3d 923, 927 (D.C. Cir. 2000)).         Moreover, all evidence of

“intrinsic act[s] offered as direct proof of the crime charged

will, by definition, satisfy Rule 404(b).”          Id.    The only

practical difference in admitting other acts as direct evidence

is that “the Government escapes 404(b)’s notice requirement and

the Court need not give a limiting instruction cautioning the


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jury against making an improper inference of criminal

propensity.”    Id.   But as Rule 404(b) provides for a more

structured framework for determining admissibility, the Court

will consider both approaches.

           Evidence of other acts is admissible as direct

evidence, and is not subject to Rule 404(b), “when it ar[ises]

out of the same transaction or series of transactions as the

charged offense, if it is inextricably intertwined with the

evidence regarding the charged offense, or if it is necessary to

complete the story of the crime on trial.”          United States v.

Carboni, 204 F.3d 39, 44 (2d Cir. 2000) (quoting Gonzalez, 110

F.3d at 942 (internal quotation marks omitted)).           It need not

“directly establish an element of the offense charged,” and may

be admitted “to provide background for the events alleged in the

indictment,” including to show “the circumstances surrounding

the events or to furnish an explanation of the understanding or

intent with which certain acts were performed.”           United States

v. Daly, 842 F.2d 1380, 1388 (2d Cir. 1988) (citing United

States v. Pedroza, 750 F.2d 187, 200 (2d Cir. 1984)); see also

United States v. Mundle, 700 F. App’x 70, 72 (2d Cir.), cert.

denied, 139 S. Ct. 291 (2018).

           The Court is mindful that courts in the Second Circuit

typically “employ a narrow construction” in considering whether

other acts constitute direct evidence.         United States v.


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Johnson, No. 16-cr-281 (PGG), 2019 WL 690338, at *3 (S.D.N.Y.

Feb. 16, 2019) (“[U]ncharged conduct is not ‘inextricably

intertwined’ with charged conduct simply because it ‘provides

context or is relevant’ to charged conduct.” (quoting United

States v. Martoma, No. 12-cr-973(PGG), 2014 WL 31191, at *3

(S.D.N.Y. Jan. 6, 2014))).       Consequently, “numerous courts in

this circuit have found it necessary to conduct Rule 404(b)

analysis of uncharged [conduct] that merely provided context or

was somehow relevant to the charged conduct.”          United States v.

Kassir, No. 04-CR-356(JFK), 2009 WL 976821, at *2 (S.D.N.Y. Apr.

9, 2009) (compiling sources).       Indeed, “‘where it is not

manifestly clear that the evidence in question is intrinsic

proof of the charged crime, the proper course is to proceed

under Rule 404(b).’”      United States v. Herron, No. 10-CR-0615

NGG, 2014 WL 1894313, at *4 (E.D.N.Y. May 12, 2014) (citing

United States v. Townsend, No. 06–CR–34 (JFK), 2007 WL 1288597,

at *1 (S.D.N.Y. May 1, 2007), aff’d sub nom. United States v.

Mercado, 573 F.3d 138 (2d Cir. 2009)).

           The Government makes a very plausible argument that

Mr. Segui’s prior and subsequent acts are direct evidence of the

charged offense because they are probative of Mr. Segui’s intent

in sending the October 30, 2018 email to John Doe.           Moreover,

Mr. Segui’s subsequent arrest and the surrounding circumstances

appear to be inextricably intertwined with the story of the


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crime charged insofar as they explain how Mr. Segui and the

email at issue came to be before the Court.

           Yet, the Court acknowledges that it may not be

“manifestly clear” that evidence of Mr. Segui’s acts and

statements after his October 30, 2018 communication constitute

intrinsic proof of the crime charged.         In contrast to instances

where other acts were admitted as direct evidence in threat

prosecutions, Mr. Segui’s subsequent acts were slightly more

attenuated temporally from the October 30, 2018 email upon which

the indictment is based.      See, e.g., United States v. Mundle,

No. 15-cr-315(NSR), 2016 WL 1071035 (S.D.N.Y. Mar. 17, 2016)

(finding events in the “days leading up to, and the day after,”

the threat to constitute direct evidence as they were highly

relevant to the objective test as to whether an ordinary

recipient would interpret the communication as a threat, and

occurred close in time).      Mr. Segui’s objection that the

Government can tell the story of the charged offense without

including the subsequent acts is not completely meritless, see,

e.g., United States v. Cacace, No. 08-cv-240(BMC), 2013 WL

12121327, at *2 (E.D.N.Y. Oct. 9, 2013) (“[T]he uncharged crimes

occurred after the . . . murder, making it difficult to see how

such evidence is necessary to complete the story of the charged

murder in-aid-of racketeering.”), but courts should generally

permit the parties to try their cases with relevant evidence


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unless precluded by the Federal Rules of Evidence, Old Chief,

519 U.S. at 183 (instructing trial courts to determine the

admissibility of evidence “with an appreciation of the offering

party’s need for evidentiary richness and narrative integrity in

presenting a case”); Perez, 387 F.3d at 209 (“As a general

matter, all relevant evidence is admissible . . . unless

specifically excluded.”).      Consequently, the Court will also

consider the admissibility of Mr. Segui’s acts following the

October 30, 2018 communication under Rule 404(b) (and will

address relevance and prejudice concerns, equally applicable to

direct evidence, in the discussion below).

                2.Admissibility Under Rule 404(b)

           Under Rule 404(b), “[e]vidence of a crime, wrong, or

other act” is not admissible to show a defendant’s character but

“may be admissible for another purpose, such as proving motive,

opportunity, intent, preparation, plan, knowledge, identity,

absence of mistake, or lack of accident.”         Fed. R. Evid. 404(b);

see also United States v. Scott, 677 F.3d 72, 78 (2d Cir. 2012)

(“Rule 404(b) is not limited to evidence of crimes or wrongs.

By its very terms, Rule 404(b) addresses ‘other crimes, wrongs,

or acts.’” (emphasis in original)).        The Second Circuit follows

the “inclusionary” approach to 404(b), admitting other acts

evidence unless it is “introduced for the sole purpose of

showing the defendant’s bad character, . . . [is] overly


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prejudicial under Fed. R. Evid. 403[,] or not relevant under

Fed. R. Evid. 402.”                                             United States v. Pascarella, 84 F.3d 61, 69

(2d Cir. 1996).

                              “The district court has broad discretion to admit

evidence pursuant to Rule 404(b), and its ruling will not be

overturned on appeal absent [an] abuse of discretion.”                                             United

States v. Midyett, 603 F. Supp. 2d 450, 454 (E.D.N.Y. 2009)

(citing Carboni, 204 F.3d at 44).                                              In ruling on the

admissibility of evidence under Rule 404(b), the Court must

consider whether: “(1) it was offered for a proper purpose; (2)

it was relevant to a disputed trial issue; (3) its probative

value is substantially outweighed by its possible prejudice; and

(4) the trial court administered an appropriate limiting

instruction.”                                United States v. Edwards, 342 F.3d 168, 176 (2d

Cir. 2003) (citing United States v. Pitre, 960 F.2d 1112, 1119

(2d Cir. 1992)).

                              Applying the foregoing factors, the Court finds that

Mr. Segui’s prior and subsequent acts are admissible under Rule

404(b), except to the extent that certain Google searches must

be excluded under Rule 403, as addressed below.3


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  In the Rule 404(b) context, a court need not determine whether the defendant
committed the acts the prosecution seeks to admit, but simply that a “jury
[could have] reasonably conclude[d] that the [other] act occurred and that
the defendant was the actor.” Huddleston, 485 U.S. at 689. Here, the
defendant does not challenge that he committed any of the acts relevant
herein, aside from the conduct relevant to his motion to suppress.



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                                                        a.Proper Purpose

                              The Government must show that it seeks to offer the

other acts into evidence for a proper purpose, not as improper

propensity evidence.4                                           The Government’s “purpose in introducing

the [404(b)] evidence must be to prove a fact that the defendant

has placed, or conceivably will place, in issue, or a fact that

the statutory elements obligate the government to prove.”

S.E.C. v. McGinnis, No. 14-CV-6, 2015 WL 5643186, at *11 (D. Vt.

Sept. 23, 2015) (citing United States v. Merriweather, 78 F.3d

1070, 1076 (6th Cir. 1996)).                                           This factor is met.

                              The Government proffers intent, motive, and absence of

mistake as reasons to admit the challenged evidence (see, e.g.,

Gov’t Br. at 6, 7), which are among the enumerated permissible

bases for offering other acts into proof under Rule 404(b).

Edwards, 342 F.3d at 177.                                           In particular, “[b]ecause the

Government must prove that the Defendant made a communication

[either ‘for the purpose of issuing a threat’ or] ‘with

knowledge that the communication [would] be viewed as a threat,’



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  Mr. Segui concedes that some of the subsequent acts are relevant – “evidence
showing Mr. Segui’s awareness of the threatening nature of the email
communication would be admissible” and “[e]vidence that would establish his
motive for threatening the professor might be admissible as well.” (Def.
Opp. at 3 n.1.) Thus, it appears that Mr. Segui does not object to the
admission of, for example, the draft grievance list, which suggests a motive
for threatening John Doe. The Court need not address at this time the fact
that the Government did not list the grievance list as evidence it seeks to
admit in its motions in limine (Gov’t Br. at 4), but included it on its
exhibit list (see ECF No. 45, Government’s Exhibit List).



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evidence offered to prove intent is proper.”          Mundle, 2016 WL

1071035, at *3 (citing Elonis, 135 S. Ct. at 2012); see also,

e.g., United States v. Caputo, 808 F.2d 963, 968 (2d Cir. 1987)

(“Where intent to commit the crime charged is clearly at issue,

evidence of prior similar acts may be introduced to prove that

intent.    The government may introduce such evidence during its

case-in-chief, rather than waiting until the conclusion of the

defendant’s case, as long as it is apparent that intent will be

in dispute.    In the present case, the government was required to

prove that appellants possessed the account numbers with intent

to defraud.    The element of intent was thus clearly at issue . .

. .”).    The evidence is relevant to prove Mr. Segui’s purpose

and motive in sending the communication on October 30, 2018.

                      b.Relevance

           The Government must also show that the evidence it

seeks to offer into proof is relevant.         As explained above,

evidence is relevant if “it has any tendency to make a fact more

or less probable than it would be without the evidence . . . and

the fact is of consequence in determining the action.”            Fed. R.

Evid. 401.    The district court has “broad discretion to assess

the relevancy of evidence and [the Second Circuit] will not

overturn that determination unless it is arbitrary or

irrational.”    Perez, 387 F.3d at 209 (citing United States v.

Cruz, 797 F.2d 90, 95 (2d Cir. 1986)); see also Midyett, 603 F.


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Supp. 2d at 454 (“The district court has broad discretion to

admit evidence pursuant to Rule 404(b), and its ruling will not

be overturned on appeal absent abuse of discretion.” (citing

Carboni, 204 F.3d at 44)).       This factor is also met.

           Relevancy “‘exists only as a relation between an item

of evidence and a matter properly provable in the case.’”

United States v. Rutkoske, 506 F.3d 170, 177 (2d Cir. 2007)

(quoting United States v. Ramirez, 894 F.2d 565, 569 (2d Cir.

1990)).   “[M]ost evidence of intent is circumstantial,” United

States v. Salameh, 152 F.3d 88, 143 (2d Cir. 1998); see also

United States v. Heras, 609 F.3d 101, 106 (2d Cir. 2010) (“The

law has long recognized that criminal intent may be proved by

circumstantial evidence alone.”), so courts “look at the entire

circumstances of [a] defendant’s conduct as an indication of the

requisite criminal intent,” United States v. Barrett, 178 F.3d

643, 648 (2d Cir. 1999).      “Extrinsic acts evidence may be

critical to the establishment of the truth as to a disputed

issue, especially when that issue involves the actor’s state of

mind and the only means of ascertaining that mental state is by

drawing inferences from conduct.”         Huddleston v. United States,

485 U.S. 681, 686 (1988).      But “the Government must identify the

. . . connection between the act at issue and an element of the

crime charged.”     United States v. Paulino, 445 F.3d 211, 223 (2d

Cir. 2006) (quoting Garcia, 291 F.3d at 137)).


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                              In this case, Mr. Segui’s subsequent acts are relevant

to his purpose in sending the communication and his intent to

send a threat because those acts allow the jury to consider

inferences about Mr. Segui’s state of mind and whether he

intended his communication to convey a threat, or knew the

communication would be taken as such,5 which are elements the

jury must consider in deciding if Mr. Segui violated § 875(c).

Evidence of the entire circumstances of Mr. Segui’s conduct

would assist the jury with ascertaining Mr. Segui’s state of

mind at the time he sent the October 30, 2018 email, an issue

critical to the disputed element of intent.                          See Huddleston, 485

U.S. at 686.

                              With respect to Mr. Segui’s Google search history, the

Government has indicated that in the three-and-a-half months

after the October 30, 2018 email, Mr. Segui conducted the

following searches:

               (1) ways to travel to the city in Michigan where [John] Doe
               lived; (2) contact information for [John] Doe; (3) the cost
               of a knife and a switch blade; (4) articles about Rikers
               Island; (5) how to make and buy different types of poisons;
               (6) whether it is possible to kill someone with a butter
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  To the extent the Government argues that the subsequent acts are relevant to
the objective component of the analysis, the Court is skeptical. (See, e.g.,
Gov’t Br. at 5 (“The evidence shows that the October 2018 Email was a serious
statement, rather than exaggeration or careless talk, and that a reasonable
recipient would have considered the communication a threat under the
surrounding circumstances.”).) John Doe did not know of Mr. Segui’s
subsequent acts, and only circumstances known to the recipient are relevant
to the objective inquiry. After all, “a person cannot be threatened by
information which is unknown to him or her.” United States v. McCrudden, No.
CR-11-061(DRH), 2015 WL 1198544, at *5 (E.D.N.Y. Mar. 16, 2015), aff’d, 655
F. App’x 23 (2d Cir. 2016).



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     knife; (7) when it is legal to kill a person and
     justifiable homicide; and (8) articles about college
     students killing their professors.

(Gov’t Br. at 4.)     That Mr. Segui searched for ways to injure

individuals makes it more likely that, in sending the email, he

intended or knew that his email would be perceived as

threatening.    A reasonable jury may infer the following:          Mr.

Segui actually intended to convey a threat based on the evidence

that he took steps to carry out the threat or had considered

doing so.    Evidence that one who conveys a threatening

communication and takes actions from which a jury could infer

that he actually intends to carry out a threat of injury, or

considered doing so, is relevant to whether the individual

intended to convey a real threat, rather than a hyperbolic or

comical statement.     Thus, evidence that after the October 30,

2018 email, Mr. Segui acted in a manner consistent with his

threat of harm to John Doe is relevant to the jury’s analysis of

whether Mr. Segui intended for the October 30, 2018 email to

John Doe to be threatening.       Evidence that Mr. Segui ran the

searches over a sustained three-and-a-half month period and that

many of the searches mirror or relate directly to the very

specific threats conveyed to John Doe by Mr. Segui’s October 30,

2018 email is relevant to whether Mr. Segui specifically

intended to convey a threat to harm John Doe.          This evidence,

therefore, meets the relatively low bar of relevance regarding


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Mr. Segui’s intent, motive, knowledge, and absence of mistake.

See, e.g., United States v. Southland Corp., 760 F.2d 1366, 1375

(2d Cir. 1985) (stating that the “standard of relevance

established by the Federal Rules of Evidence is not high”).

           Mr. Segui’s arrest as he was admittedly en route to

carry out his October 30, 2018 threat and the surrounding

circumstances are relevant for the same reason.           That Mr. Segui

planned to travel to Michigan to carry out the threat in a

similar manner to that outlined in his email is relevant to his

intent to convey a threat.       Moreover, Mr. Segui’s statement to

the officers that his October 30, 2018 email was a “slight

underhand threat” is highly relevant.         Although Mr. Segui’s

statements are subject to interpretation by the jury, the

evidence is relevant to the jury’s determination of intent,

knowledge, and lack of mistake.        Mr. Segui’s own statements to

law enforcement regarding the email and the surrounding

circumstances provide more insight as to whether Mr. Segui may

have actually intended for his email to John Doe to convey a

serious threat.

           Mr. Segui, nevertheless, proffers several reasons why

his subsequent acts are not relevant to any element of the

charged offense, including his intent.

           First, Mr. Segui asserts that his subsequent acts

could not be relevant to his intent in sending the email because


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they occurred after the fact.       But the Second Circuit has

declined “to adopt a per se rule that subsequent . . . act

evidence inherently lacks relevancy” because “[r]elevancy cannot

be reduced to [a] mere chronology.”        United States v. Ramirez,

894 F.2d 565, 569 (2d Cir. 1990) (“Rather than adopt a rigid

approach, we leave it to the district court to exercise its

discretion in reaching determinations about relevancy based upon

the Huddleston analysis.”); see also Rutkoske, 506 F.3d at 177

(“The courts of appeals mostly agree that the admission of

subsequent acts under Rule 404(b) is governed by the same four-

part test as prior acts, though some courts have recognized that

the temporal relationship between the acts may have some bearing

on the evidence's probative value.”).         In fact, “[s]ubsequent

acts are frequently probative as to intent.”          United States v.

Goffer, 721 F.3d 113, 124 (2013) (citing United States v.

Germosen, 139 F.3d 120, 127-28 (2d Cir. 1998)); see also, e.g.,

United States v. Valle, 301 F.R.D. 53, 89 (S.D.N.Y. 2014)

(collecting cases and stating it is “well established that proof

of subsequent conduct may be admissible as shedding light on a

defendant's state of mind at an earlier time, including on the

issue of whether the defendant acted with criminal intent”);

United States v. Blount, 229 F.2d 669 (2d Cir. 1956).

           Second, Mr. Segui argues that none of his subsequent

acts are relevant to whether he sent the October 30, 2018 email


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for the purpose of issuing a threat because they were unknown to

John Doe.    Mr. Segui correctly argues that under § 875(c), he

can only be convicted of sending a true threat.           But Mr. Segui

further argues that whether a communication is a true threat is

assessed under an objective test and, therefore, the jury must

find not only that Mr. Segui intended to send a threat, but that

he intended to send an objectively threatening communication,

which Mr. Segui asserts is cabined to those facts known to the

recipient of the communication.        Thus, Mr. Segui argues that his

“alleged actions in Googling information about the professor and

buying an axe and a bus ticket months later could have no

possible bearing on those issues unless Mr. Segui communicated

or otherwise disclosed those actions to the professor.”            (Def.

Br. at 3.)

            Mr. Segui’s argument is unavailing and conflates the

objective and subjective components of the threat analysis.

Under the objective test, evidence is only relevant if it is

known to the recipient.      See, e.g., United States v. McCrudden,

No. 11-CR-061(DRH), 2015 WL 1198544, at *5 (E.D.N.Y. Mar. 16,

2015), aff’d, 655 F. App’x 23 (2d Cir. 2016).          Under the

subjective test, on the other hand, the focus is on the

defendant’s intent or state of mind.         These inquiries “involve

separate and distinct elements” and “determining the defendant’s

subjective intent requires a jury to address considerations not


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directly relevant to an objective reasonable-person standard.”

United States v. Twitty, 641 F. App’x 801, 805 (10th Cir. 2016)

(citations omitted).

           For instance, following remand in Elonis, the Third

Circuit took issue with the defendant’s attempts to conflate the

objective and subjective components of the analysis:

     Instead of asking the jury whether the defendant’s
     communication was objectively threatening, Elonis would ask
     only whether the defendant believed his communication was
     objectively threatening. But it is not for the defendant
     to determine whether a communication is objectively
     threatening — that is the jury’s role. If a defendant
     transmits a communication for the purpose of issuing a
     threat or with knowledge that the recipient will view it as
     a threat, and a jury determines that communication is
     objectively threatening, then the defendant has violated
     Section 875(c) whether or not he agrees the communication
     was objectively threatening.

Elonis, 841 F.3d at 596–97.        The Third Circuit found that

adopting the defendant’s approach “would render the objective

component meaningless.”      Id.    In a similar vein, adopting Mr.

Segui’s reading would in effect, replace the subjective inquiry

with a pseudo-objective one of whether the defendant intended to

threaten the recipient using only facts known to the recipient.

This approach would unduly limit the scope of the subjective

inquiry.   The subjective and objective inquiries are distinct,

and although subsequent acts by the sender of a threatening

communication unknown to the recipient are not relevant to the




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objective inquiry, the subsequent acts are relevant to the

subjective inquiry.

                              Third, Mr. Segui argues that the subsequent acts are

not relevant here because they are only probative of his intent

to carry out the threat, and not his intent in sending the

email.                  Mr. Segui cites pre-Elonis caselaw holding that a

defendant’s intent to carry out a threat, or ability to do so,

is not relevant under § 875(c).                                  But Mr. Segui overlooks the

fact that these pre-Elonis decisions did not require that the

jury find that the defendant subjectively intended to convey a

threat, making evidence unknown to the recipient less relevant

because it had little, if any, bearing on the objective

analysis.                        See United States v. Himelwright, 42 F.3d 777, 782

(3d Cir. 1994) (finding possession of firearms by defendant the

day after he made allegedly threatening phone calls in a §

875(c) prosecution irrelevant because it was a “general intent”

crime); United States v. Smith, 433 F.2d 1266, 1267 (5th Cir.

1970) (finding defendant’s inability to carry out alleged threat

irrelevant in § 875(c) prosecution because § 875(c) was a

“general intent” crime).6

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  The Ninth Circuit – which imposed a subjective intent requirement prior to
Elonis – distinguished the line of cases cited by Mr. Segui in considering
whether to admit evidence of a defendant’s intent or capacity to carry out a
threat as relevant to intent in the context of a § 875(c) prosecution.
United States v. Sutcliffe, 505 F.3d 944 (9th Cir. 2007) (“While we note that
other circuits have reached a contrary result in somewhat similar factual
situations, see, e.g., [Himelwright, 42 F.3d 777]; United States v.
Philibert, 947 F.2d 1467, 1470–71 (11th Cir. 1991), it is important to point


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                              Similarly, Mr. Segui cites Turner, a pre-Elonis case

addressing a distinct statute, 18 U.S.C. § 115(a)(1)(B), for the

proposition that “[w]hether a threat is ultimately carried out

is, at best, of marginal relevance to whether the threat was

made in the first place; indeed, the speaker need not even have

intended or been able to carry out the threat for § 115(a)(1)(B)

to apply.”                          Turner, 720 F.3d at 429.                  Although § 115(a)(1)(B)

has a specific intent requirement, it is different from the mens

rea read into § 875(c) by Elonis, and Elonis has not been held

to apply to § 115(a)(1)(B).                                        United States v. Wright-Darrisaw,

617 F. App’x 107, 108 (2d Cir. 2015) (“[The Second Circuit] has

yet to address whether the objective test for a true threat has

been supplemented with” a subjective test outside the § 875(c)

context); United States v. Fitzgerald, No. 15-CR-55-01, 2015 WL

9582144, at *1 (D. Vt. Dec. 30, 2015) (finding Elonis

inapplicable to § 115(a)(1)(B)).                                          Under § 875(c), the defendant

must intend for the communication to be threatening.                                         Under §

115(a)(1)(B), on the other hand, a threat is still evaluated

under an objective test.                                        See, e.g., United States v. Wynn, 827

F.3d 778, 785 (8th Cir. 2016), reh’g denied (Aug. 5, 2016),

cert. denied, 137 S. Ct. 604 (2016) (concluding that there was



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out that those circuits do not require the government to prove that the
defendant acted with specific intent to threaten. Consequently, we do not
find their reasoning on this issue persuasive.”).



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no instruction error under Elonis when a district court defined

the ‘threat’ element of § 115(a)(1)(B) to include only an

objective standard); United States v. Cruz, 713 F. App’x 82, 85-

86 (3d Cir. 2017) (affirming district court’s jury instructions

as to § 115(a)(1)(B) which indicated that defendant must

specifically intend to “impede, intimidate, or interfere,” not

to threaten).    The specific intent under § 115(a)(1)(B) is “to

impede, intimidate, or interfere” with the threatened official’s

duties, or “to retaliate” against the official on account of the

performance of threatened official’s duties, which very well may

be subject to different proof.       18 U.S.C. § 115(a)(1)(B).

           Though the Court does not intend to overstate the

value of Mr. Segui’s subsequent acts, it finds that in the

context of this case and the elements that the Government must

prove to convict under § 875(c), the subsequent acts are

relevant to Mr. Segui’s motive, intent, knowledge, and absence

of mistake in sending the October 30, 2018 email.           Whether the

probative value of the evidence regarding Mr. Segui’s words and

acts is so minimal that exclusion is warranted under Rule 403 is

another question.

                      c.FRE 403 Balancing Test

           With respect to the third inquiry under Rule 404(b),

Mr. Segui argues that the subsequent acts should be excluded

pursuant to Rule 403.      Rule 403 provides that a court may


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“exclude relevant evidence if its probative value is

substantially outweighed by a danger of one or more of the

following: unfair prejudice, confusing the issues, misleading

the jury, undue delay, wasting time, or needlessly presenting

cumulative evidence.”      Fed. R. Evid. 403.     “All evidence

introduced against a defendant, if material to an issue in the

case, tends to prove guilt, but is not necessarily prejudicial

in any sense that matters to the rules of evidence.”             United

States v. Figueroa, 618 F.2d 934, 943 (2d Cir. 1980).            “Evidence

is prejudicial only when it tends to have some adverse effect

upon a defendant beyond tending to prove the fact or issue that

justified its admission into evidence.”         Id.   As noted

previously, the “standard of relevance established by the

Federal Rules of Evidence is not high,” Southland Corp., 760

F.2d at 1375, and the Court has “broad discretion to balance

probative value against possible prejudice,” United States v.

Bermudez, 529 F.3d 158, 161 (2d Cir. 2008) (citing United States

v. LaFlam, 369 F.3d 153, 155 (2d Cir. 2004)).

           Importantly, “[p]robative value is also informed by

the availability of alternative means to present similar

evidence.”    United States v. Awadallah, 436 F.3d 125, 132 (2d

Cir. 2006).    “[T]he Rule 403 ‘probative value’ of an item of

evidence, as distinct from its Rule 401 ‘relevance,’ may be

calculated by comparing evidentiary alternatives.”           Old Chief,


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519 U.S. at 184.     “If an alternative were found to have

substantially the same or greater probative value but a lower

danger of unfair prejudice, sound judicial discretion would

discount the value of the item first offered and exclude it if

its discounted probative value were substantially outweighed by

unfair prejudicial risk.”      Id. at 182–83.     Thus, in considering

whether to admit potentially prejudicial evidence, a court

should consider whether “there is sufficient other, ‘less

prejudicial evidence that makes the same point.’”           United States

v. Barret, No. 10-cr-809(KAM), 2011 WL 6704862, at *13 (E.D.N.Y.

Dec. 21, 2011) (quoting United States v. Gotti, 399 F. Supp. 2d

417, 419 (S.D.N.Y. 2005)).

           Because Mr. Segui’s subsequent acts are particularly

relevant to his intent in sending the October 30, 2018 email,

the starting point in the Court’s analysis is determining which

evidence the Government may introduce, aside from the subsequent

acts, that bears on Mr. Segui’s mental state.          The jury could

infer from the relationship between the parties alone that Mr.

Segui would have sent the email with an intent to communicate a

threat.   It is also possible for the jury to infer from the

language used by Mr. Segui in the draft and final emails that he

knew and intended that the recipient would perceive his email as

threatening.    But much of the foregoing evidence is more

probative of the objective component of the analysis than to the


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subjective intent of the defendant.        Although the October 30,

2018 email could be found by the jury to be threatening, the

jury could also find the email to be the product of emotional

instability on the defendant’s part.         See, e.g., Twitty, 641 F.

App’x at 805 (“A reasonable jury [could] determine[], for

example, that the crazed and demented tone of [the defendant’s

communication] . . . [could in part] create[] a reasonable doubt

concerning his subjective intent that his communication be

viewed as an actual threat.”).       The subsequent acts are highly

probative and it is important to allow the Government to present

other relevant evidence, such as Mr. Segui’s subsequent acts,

bearing on his mental state in sending the email.           The Court is

also mindful of the fact that some of the evidence provides

essential context as to why Mr. Segui is before the Court.

           In this case, the Court cannot conclude that all of

Mr. Segui’s subsequent acts should be excluded from evidence.

Mr. Segui’s Mirandized post-arrest statements about the threat

and the circumstances prior to and after the threat are

essential to explain the story of how the crime came before the

jury, as are the circumstances of his arrest which are necessary

context for that evidence.       As noted above, without this

evidence, the jury will not know how the Government identified

and obtained evidence of the threat and the other evidence in

this case, including Mr. Segui’s prior and draft communications


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with John Doe, to which Mr. Segui does not object.           Moreover,

Mr. Segui’s post-arrest statements – in particular, his

characterization of his October 30, 2018 email as a “slight

underhand threat” – provide important evidence of Mr. Segui’s

intent in sending the email.       Mr. Segui’s statements to law

enforcement at the Port Authority that he was on his way to kill

John Doe are relevant to the jury’s determination as to whether

Mr. Segui intended to convey a threat of harm to John Doe in his

October 30, 2018 email.      Moreover, the Court will give a

limiting instruction, at the defendant’s request, to avoid

confusing the jury as to the charged offense.

           Mr. Segui nevertheless argues that the “[e]vidence

that [he] planned to kill the professor, researched different

ways of doing it and then purchased an axe, is infinitely more

disturbing than the charged conduct of sending an email

threatening to injure or even kill him.”         But see Mundle, 2016

WL 1071035, at *3 (rejecting defendant’s argument in the context

of a § 875(c) prosecution that introducing evidence of

surrounding circumstances would “impermissibly put[] [him] on

trial for kidnapping his mother”).        The evidence that Mr. Segui

researched various means of killing the professor is probative

of his intent to communicate a threat to John Doe.

           The searches that bear close parallels to the threats

outlined in Mr. Segui’s October 30, 2018 email are particularly


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probative of Mr. Segui’s intent in sending that email and,

therefore, should not be excluded under Rule 403.                                            These include

Mr. Segui’s Google searches regarding means of travel to the

city where John Doe resided, John Doe’s contact information, the

costs of a knife and a switchblade, and whether it is possible

to kill a person with a butter knife.

                              The other searches should be excluded either because

they bear fewer parallels to the threat made by Mr. Segui and

are therefore less probative, such as Mr. Segui’s search about

making and buying poisons, or because they suggest a

consciousness of guilt in a manner untethered to Mr. Segui’s

specific threats, such as articles about Rikers Island, the

legality of murder, and justifiable homicide.7                                            Admission of

these relatively less relevant searches regarding poison,

prison, murder, and homicide risks unfair prejudice and

confusing the jury.                                             Moreover, the Government may still elicit

the fact that the relevant Google searches were run after

October 30, 2018, without specifying that the other searches

were omitted.

                              The physical axe, sheath, and axe packaging are not

excluded under Rule 403.                                            This evidence is relevant to Mr.


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  The Government cites an eighth search conducted by Mr. Segui in its
description of the facts – for “articles about college students killing their
professors” – but does not list this search among those it seeks to admit in
this action. (See Gov’t Br. at 4.)


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Segui’s threatened injuries and his intent in the same manner as

the foregoing evidence.      Mr. Segui’s statements in the October

30, 2018 email that the recipient(s) did not deserve life, that

“the world would be better off without you,” the statements

about “tying you down and cutting off your fingers,” the cruel

description of John Doe’s son and references to god putting John

Doe “in [his] place,” Mr. Segui’s post-arrest statements that he

was traveling to Michigan to kill his professor, and that he had

purchased an axe on the internet for that purpose render the

axe, sheath, and packaging highly probative to Mr. Segui’s

intent to convey a threat to injure John Doe.          The Court finds

that the probative value of the foregoing evidence outweighs any

danger of unfair prejudice or jury confusion.          Mr. Segui’s

intent is a critical element which the Government must prove

beyond a reasonable doubt.       Cf. United States v. Ravich, 421

F.2d 1196, (2d Cir. 1977) (“Notwithstanding the relevance of the

guns and the ammunition, the trial judge would have been

justified in excluding them if he decided that their probative

value was outweighed by their tendency to confuse the issues or

inflame the jury.”).      As the evidence proffered by the

Government includes Mr. Segui’s admission that he purchased the

axe to kill John Doe, physical evidence of the axe is no more

inflammatory than Mr. Segui’s own words both in his email and

after he was arrested and given Miranda warnings.           The Court


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finds that exclusion of the axe, sheath, and packaging is not

warranted under Rule 403.      Mr. Segui’s bus ticket is also

probative and not likely to inflame the jury, and may be

admitted into evidence.

             In sum, the Government’s motion to admit evidence of

Mr. Segui’s prior and subsequent acts is granted, except for the

specific Google searches identified above, which the Court finds

should be excluded under Rule 403.

                      d.Limiting Instruction

           The Court is aware that cautionary instructions “may

lessen” any prejudicial effect of admitted evidence on the

defendant.     Figueroa, 618 F.2d at 943; see also United States v.

Snype, 441 F.3d 119, 129–30 (2d Cir. 2006) (noting that “the law

recognizes a strong presumption that juries follow limiting

instructions”); United States v. Mercado, 573 F.3d 138, 142 (2d

Cir. 2009) (upholding Rule 403 determination where challenged

evidence was “not especially worse or shocking than the

transactions charged” and where the district court “gave several

careful instructions to the jury regarding what inferences it

could draw from the admitted evidence”).         A limiting instruction

would be effective in this context and the Court is willing to

provide the jury with an appropriate limiting instruction

indicating that it should only consider Mr. Segui’s prior and

subsequent acts for the purpose of ascertaining Mr. Segui’s


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intent with regard to the charged offense.          The Court will

permit Mr. Segui to request that the Court provide the jury such

an instruction and to propose language to the Court.

        B.Motion to Preclude Mr. Segui from Making Arguments
           Regarding His “Nonexistent First Amendment Right to
           Email Threatening Communications”

           The Government also moves to preclude Mr. Segui from

“presenting evidence, making arguments[,] or eliciting testimony

referencing [his] First Amendment right to have sent the October

2018 Email because no such right exists.”         (Gov’t Br. at 7.)      As

the Government correctly states, the Second Circuit has upheld

the constitutionality of § 875(c) because it only criminalizes

true threats.    United States v. Xiang Li, 381 F. App’x 38, 39

(2d Cir. 2010) (citing Francis, 164 F.3d at 122-23).           So long as

the Government establishes the elements of § 875(c), including

that the communication conveys a true threat, Mr. Segui cannot

rely on a First Amendment defense.        See id.    Mr. Segui agrees

that “the application of the First Amendment to Section 875(c)

is a legal question for the Court rather than the jury, [and

therefore] do[es] not intend to present any such evidence or

arguments to the jury.”      (Def. Opp. at 1.)      Because Mr. Segui

does not object the Government’s motion in limine that he be

precluded from arguing that the First Amendment protects his

right to have sent a threatening email, and because the Court

agrees with the Government that in light of the Second Circuit’s


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precedent, presenting evidence of the sort the Government seeks

to preclude would only serve to confuse the jury and has no

probative value, see Fed. R. Evid. 403, this motion is granted.

       III. Mr. Segui’s Motion in Limine

                              Mr. Segui moves to preclude an except from his October

30, 2018 email in which he references John Doe’s son and states

as follows: “[John Doe], I’m so glad that son of yours is a mute

deformed autistic little shit.                                         That’s probably god’s way of

putting you in place.”8                                         (Def. Br. at 2.)   Mr. Segui challenges

the relevance of the evidence and argues that it should be

excluded pursuant to Rule 403.

                      A.Relevance of Evidence

                              Mr. Segui argues that his comment about John Doe’s son

“has no relevance to any element of [transmission of a threat to

injure]” because it does not, in and of itself, constitute “a

threat of bodily injury to the professor or anyone else.”                                          (Id.

(citing 18 U.S.C. § 875(c)).)                                         This argument relies on an unduly

restrictive definition of relevance and overlooks the probative

value of Mr. Segui’s statement in the context of his October 30,

2018 email upon which the charged crime rests.

                              As noted above, to secure a conviction under § 875(c),

the Government must show that the communication conveyed by Mr.

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  Mr. Segui “does not challenge the admissibility, as an evidentiary matter,
of the rest of this email.” (Def. Br. at 2 (footnote omitted).)



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Segui contained a true threat, assessed under an objective test.

See Francis, 164 F.3d at 123.       The test is “whether an ordinary,

reasonable recipient who is familiar with the context of the

[communication] would interpret it as a threat of injury.”

United States v. Rosario, 159 F.3d 1349, 1998 WL 612048, at *1

(2d Cir. 1998) (table) (quoting Malik, 16 F.3d at 49

(interpreting 18 U.S.C. § 876, companion statute to § 875(c)

that proscribes threats mailed via U.S. Postal Service)).

“Context is crucial” in making this determination.           Heller v.

Bedford Cent. Sch. Dist., 665 F. App’x 49, 52 (2d Cir. 2016)

(citing Turner, 720 F.3d at 420); see also McCrudden, 2015 WL

1198544, at *5 (considering the “background and contextual

information known by, and the utterances directed at the

recipient of the threat”).

           Mr. Segui’s statement regarding John Doe’s son

provides critical context in showing how a reasonable recipient

in John Doe’s position would interpret the communication.            The

bulk of Mr. Segui’s email is arguably directed towards all

recipients, including John Doe.        The statement Mr. Segui seeks

to exclude, on the other hand, targets John Doe directly because

of the reference to John Doe’s son and is relevant to whether a

reasonable recipient who is familiar with the context of the

communication would perceive the threat to be a true threat,




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considering the background and contextual information known by,

and the utterances directed at, the recipient of the threat.

           That Mr. Segui referenced very personal details about

John Doe’s son using crude and cruel language also suggests that

Mr. Segui was not only angry, but had also dehumanized both John

Doe (“you’re all monsters,” “you don’t deserve life”) and John

Doe’s son.    Dehumanizing the victim and his disabled child is

relevant to Mr. Segui’s intent to threaten harm to John Doe and

is also highly relevant to whether a reasonable recipient of a

communication referencing personal details regarding the

recipient’s particularly vulnerable child would interpret the

communication as a serious threat of injury.          See, e.g., Heller,

665 F. App’x at 52 (finding it relevant that individual who sent

alleged threat, inter alia, “seemed to be angry, depressed, and

generally emotionally ‘worked up’”); Rosario, 1998 WL 612048, at

*1 (noting that objective test entails considering “whether an

ordinary, reasonable recipient who is familiar with the context

of the [communication] would interpret it as a threat of

injury”); United States v. Hanna, 293 F.3d 1080, 1086 (9th Cir.

2002) (“The true threat test turns on whether a reasonable

person would foresee that a statement would be interpreted as a

threat by those to whom the maker communicates. . . .            Because

Hanna did not communicate with the law enforcement officers,

their reactions to the documents had little bearing on the


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question at issue — what a reasonable person in Hanna’s position

would have foreseen with regard to the persons with whom he

communicated.” (emphasis added)).

           The Second Circuit has also made clear that in the

context of determining whether a communication contains a true

threat, “proof of the effect of the alleged threat upon the

addressee is highly relevant.”       Davila, 461 F.3d at 305; see

also Malik, 16 F.3d at 49 (affirming conviction for threatening

a judge, and holding that the judge’s testimony regarding his

interpretation of the defendant's statements was “highly

relevant”); United States v. Rumble, 520 F. App’x 26, 28 (2d

Cir. 2013) (“[T]he District Court did not abuse its discretion

by admitting evidence about the effect of the alleged threats on

the agent and his family.      The effect of a statement on its

subject may be “highly relevant” to the question of whether or

not the statement is a threat . . . .”), in part because “the

recipients’ states of minds and their reactions” can “remove

ambiguity by shedding light upon the contexts of the alleged

threats,” Malik, 16 F.3d at 50.

           For John Doe, the reference to his son raised serious

alarm bells: “After receiving the email, [John] Doe found the

references to his child especially alarming.          [John] Doe’s son

has certain medical conditions, and the fact that [Mr. Segui]

explicitly referenced that private fact led in part to [John]


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Doe believing that the October 2018 Email was a threat, rather

than bluster.”    (ECF No. 32, Government’s Opposition to

Defendant’s Motion in Limine, at 3; see also Gov’t Br. at 2

(“[John] Doe found the October 2018 email concerning and

threatening, especially the statement about his son.” (emphasis

added)).)    Again, the manner in which Mr. Segui referred to John

Doe and John Doe’s son suggests that Mr. Segui had dehumanized

them both, making it all the more reasonable for a recipient in

John Doe’s shoes to believe that Mr. Segui was willing to

inflict bodily injury on him.       This also explains John Doe’s

reaction in the wake of receiving the email; namely, reporting

the email to the university police department.          See, e.g.,

Davila, 461 F.3d at 305 (“[A] reasonable recipient could have

concluded that the mailing threatened injury.          The actual effect

on the recipients strongly supports this conclusion.           After the

letter was discovered, [Connecticut] State’s Attorney’s Office

personnel evacuated the area, initiated a full-scale emergency

response, and kept the area sealed off until the powder could be

tested.”); Xiang Li, 381 F. App’x at 39 (“[T]he verdict also was

supported by . . . testimony regarding the security measures

taken as a result of the threats.” (citing Malik, 16 F.3d at

49)).

            Furthermore, Mr. Segui’s statement regarding John

Doe’s son is inextricably intertwined with the charged criminal


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conduct.    As noted above, this statement was a key motivating

factor which prompted John Doe to report the communication to

police officers.      Mr. Segui characterizes the Government’s

argument that the reference to John Doe’s son is “inextricably

intertwined” with the story of the crime charged as “farfetched”

because other content in the email – for instance, that the

recipients of the email “don’t deserve life” – provided

sufficient cause to report this email to the jury.           (ECF No. 37,

Reply in Support of Defendant’s Motion in Limine (“Def. Rep.”),

at 2.)    “That the comment about his son may have contributed to

the mix,” he argues, “is irrelevant unless its inclusion would

be necessary for the jury to understand why he would report the

incident.”    (Id.)    Mr. Segui’s argument is unavailing.        That

there were other reasons in addition to the statement regarding

John Doe’s child for John Doe’s report to the police does not

preclude the Government from introducing one of those reasons,

nor does it negate the relevance of the evidence to the

objective inquiry of whether the communication contained a true

threat.

          B.Rule 403 Balancing

            The Court next considers whether, based on all of the

evidence available, the reference to John Doe’s son, standing

alone, would be more prejudicial than probative.           Mr. Segui

asserts that his statement regarding John Doe’s son should be


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excluded because it has only “minimal” probative value (an

argument already rejected by the Court), in comparison to a

“monumental” danger of unfair prejudice due to the offensive

nature of Mr. Segui’s comment.       (Def. Br. at 3 (“It is hard to

think of something more offensive and taboo in our society than

mocking a disabled child.”).)       The Court agrees that mocking a

disabled child is unacceptable, but Mr. Segui chose to include

the reference to John Doe’s child in the context of the

communication at issue in this case, which led to the indictment

charging Mr. Segui with violating § 875(c).

           In the context of the October 30, 2018 email as a

whole, the Court cannot find that Mr. Segui’s statement

regarding John Doe’s son is substantially more prejudicial than

probative.    As an initial matter, the Court has already rejected

Mr. Segui’s argument that this statement is of little probative

value.   To the contrary, this statement is clearly probative of

the elements of the offense charged, and it is inextricably

intertwined with the story of the offense.          Furthermore, this

statement – while cruel and offensive – is not substantially

more inflammatory than the crime charged, which includes Mr.

Segui’s threats of bodily injury made through statements that

all of the recipients copied are monsters, who “don’t deserve

life,” or that “anything short of tying you down and cutting off

your fingers[,] there is no way you will ever admit to any wrong


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doing.”   See, e.g., Livoti, 196 F.3d at 326 (finding unfair

prejudice where challenged evidence was “more inflammatory than

the charged crime”); Pitre, 960 F.2d at 1120 (finding no unfair

prejudice where “evidence of prior narcotics transactions ‘did

not involve conduct any more sensational or disturbing than the

crimes with which [the appellants were] charged’”).

           Mr. Segui relies on the Second Circuit’s decision in

United States v. Morgan, 786 F.3d 227, 233 (2d Cir. 2015), in

which the defendant was charged with gun and drug charges.             The

Second Circuit concluded that the district court abused its

discretion in admitting evidence that the defendant made death

threats to a witness as evidence of consciousness of guilt of

the charged gun and drug offenses.          Id. at 232.   This case is

distinguishable.     As an initial matter, Mr. Segui argues in his

own submission that his statement regarding John Doe’s child is

not a death threat or a threat to the child’s safety (Def. Rep.

at 2), but instead simply a crude remark, unlike the death

threats at issue in Morgan.       The context of the threat and its

relation to the charged offense is also entirely different in

this case than it was in Morgan.          Morgan addressed a situation

where the defendant’s death threats were admitted based on the

premise that they could show the defendant’s consciousness of

guilt of the charged gun and drugs offenses, which premise was

rejected by the Second Circuit.        Morgan, 786 F.3d at 232.      In


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the Second Circuit’s view, the threats in Morgan “bore no

relation to the [gun and drug] offenses for which [the

defendant] was being tried.”       Id.    Here, by contrast, Mr.

Segui’s statement regarding John Doe’s son is highly relevant

to, and inextricably part and parcel of, his communication of an

alleged threat to John Doe.

           Overall, in the context of the circumstances of the

October 30, 2018 communication and the crime charged, the

reference to John Doe’s son does not pose a substantial risk of

unfair prejudice so as to warrant exclusion under Rule 403.

                                Conclusion

           For the reasons set forth above, the Government’s

motion in limine to admit evidence of Mr. Segui’s prior and

subsequent acts is GRANTED IN PART but DENIED IN PART as to the

specific Google searches addressed above; the Government’s

motion in limine to preclude Mr. Segui from arguing that he has

a First Amendment right to make threatening communications is

GRANTED; and Mr. Segui’s motion to preclude the Government from

including his statement regarding John Doe’s son in the October

30, 2018 email is DENIED.

SO ORDERED.

Dated:     Brooklyn, New York
           December 2, 2019
                                             /s/
                                   Hon. Kiyo A. Matsumoto
                                   United States District Judge


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